Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 1 of 11

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Gigi Kai Zi Chan
Plantiff,

CIVIL ACTION
NO. 19-11605-WGY

Vv.

Wellington Management Company
LLP and Charles Argyle

Defendants.

me eo oe ee eo ee 8

 

YOUNG, D.J. December 3, 2019
ORDER

On July 24, 2019, Gigi Kai Zi Chan (“Chan”) filed a
complaint in this Court against her alleged employer, Wellington
Management Company LLP (“Wellington”), on five counts under both
Massachusetts and Hong Kong law: (1) discrimination based on
gender; (2) discrimination based on race or national origin; (3)
discrimination based on disability or pregnancy (against
Wellington); (4) retaliation (against Wellington); and (5)
tortious interference. Compl. 4% 61-76, ECF No. 1. Chan brings
an additional count of tortious interference against her
supervisor, Charles Argyle (“Argyle”), a Wellington partner.
Id. (71 77-80. Chan seeks monetary damages, punitive damages,
attorneys’ fees and costs, and other proper relief. Id. 14.

Wellington and Argyle jointly moved to dismiss Chan’s

complaint pursuant to Federal Rule of Civil Procedure 12(b) (6),
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 2 of 11

asserting that, due to choice of law principles and the
presumption against extraterritoriality, Chan’s claims are
governed solely by Hong Kong law, which gives exclusive
jurisdiction to Hong Kong courts and imposes statutory
limitation periods on these claims. Defs.’ Mot. Dismiss Pl.’s
Compl., ECF No. 9; Mem. L. Supp. Mot. Dismiss Pl.’s Compl.
(“Defs.’ Mem.”) 4-13, ECF No. 10. Wellington and Argyle further
argue that Hong Kong is the proper forum for these claims and
thus the Court ought dismiss the complaint due to forum non
conveniens. Id. 13-14. Chan opposed the motion, Pl.’s Mem. L.
Opp’n Defs.’ Mot. Dismiss (“Pl.’s Opp’n”), ECF No. 17, which
elicited a further reply, Defs.’ Reply Further Supp. Mot.
Dismiss (“Defs.’ Reply”), ECF No. 20. The Court heard argument
on November 7, 2019 and took the matter under advisement.
Electronic Clerk’s Notes, ECF No. 21.

After careful consideration of the parties’ arguments, the
Court DENIES the motion to dismiss, ECF No. 9, because Chan’s
detailed complaint provides “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v.
Twombly, 550 U.S. 344, 570 (2007). Wellington and Argyle stress
the presumption against the extraterritorial application of
Massachusetts law, a question which the Supreme Judicial Court

has left open. See Taylor v. Eastern Connection Operating Co.,

 

465 Mass. 191, 199 n.9, 988 N.E.2d 408 (2013) (“[a]ssuming

2]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 3 of 11

without deciding that there is a presumption against the
application of Massachusetts statutes outside the United

States”); O’Connell v. Chasdi, 400 Mass. 686, 689 n. 3, 511

 

N.E.2d 349 (1987) (applying Massachusetts civil rights law to
conduct occurring in South America but declining to decide the
question because no party raised the issue).! Thus, they assert
that the Massachusetts anti-discrimination statute, 151B, does
not govern the conduct alleged in the complaint because it took
place in Hong Kong. Defs.’ Mem. 4-7.

Whether Massachusetts law may apply overseas is an

intriguing question of law. The Court cannot yet reach that

 

1 The Court is disturbed by the apparent lack of candor
shown by counsel for Wellington and Argyle in citing Taylor for
the unqualified proposition that “there is a presumption against
the application of Massachusetts statutes outside the United
States,” Defs.’ Mem. 4, while omitting without comment the
preceding words of the Taylor Court that it was “[{a]ssuming
without deciding” the issue. Counsel for Wellington and Argyle
repeats this misleading characterization (albeit in less
egregious fashion) in its reply brief, stating that the Taylor
Court “assumed that there is a presumption against
extraterritorial application outside the United States.” Defs.’
Reply 2 (emphasis in original). Counsel’s attempt to explain
these misrepresentations, id. at 2 n.2, is wholly inadequate.
The Court harbors serious concerns that these misleading
descriptions of Taylor, which would be controlling authority had
it said what counsel told the Court it said, amount to “a false
statement of . . . law to a tribunal.” Model Rules of Prof’l
Conduct r. 3.3(a) (1) (Am. Bar Ass’n 2019); cf. Swinomish Indian
Tribal Cmty. v. BNSF Ry. Co., Civ. A. No. 18-35704, 2019 WL
3074050 (9th Cir. May 22, 2019) (ordering counsel to show cause
why misleading citations of law were candid representations).
Counsel is therefore admonished to maintain scrupulous candor
with this Court and all other tribunals.

 

 

(3]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 4 of 11

question, however, because the complaint alleges unlawful
conduct within the Commonwealth's territorial bounds. Chan
alleges that Wellington, located in Boston, was her employer;
that she reported directly to Argyle, also in Boston; that her
employment duties required her to travel frequently to Boston;
and that Wellington and Argyle engaged in a pattern of unlawful
discriminatory acts against her, culminating with her
termination, orchestrated from the firm’s Boston headquarters.
See Compl. (I 8-60. In considering this motion to dismiss, the
Court must accept these allegations as true and make all
reasonable inferences in Chan’s favor. See Twombly, 550 U.S. at
555. On these alleged facts, the unlawful acts occurred, at
least partly, in Massachusetts. The extraterritorial
application of the Commonwealth’s anti-discrimination statute is
therefore not implicated.

Chan’s undisputed physical placement in Hong Kong may be
pertinent to the overall analysis of the existence of employment
relationship between the parties, which is in dispute. See
Defs.’ Mem. 2. Yet this fact is just one among others that
ought be considered in determining who Chan’s employer was and,
relatedly, whether the allegedly unlawful conduct took place
within or without Massachusetts. For example, “Massachusetts
cases have determined that an employer can be defined by ‘who

has direction and control of the employee and to whom... [the

[4]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 5of11

employee] owe[s] obedience in respect of the performance of his

work.’” DeLia v. Verizon Commc’ns Inc., 656 F.3d 1, 4 (lst Cir.

 

 

2011) (alteration in original) (quoting Roberts v. Delta Air
Lines, Inc., 599 F.3d 73, 78 (lst Cir. 2010) and Fleming v.

Shaheen Bros., Inc., 71 Mass. App. Ct. 223, 881 N.E.2d 1143,

 

1147 (2008) (internal quotation marks omitted)). Additionally,
“all of the incidents of the relationship must be assessed and
weighted with no one factor being decisive.” Id. at 5 (quoting

Dykes v. DePuy, Inc., 140 F.3d 31, 37 (lst Cir. 1998) and

 

Nationwide Mut. Ins. Co. v. Darden, 503 U.S. 318, 324 (1992)).

 

In deciding whether a Massachusetts law applies to conduct in
another state (and perhaps even internationally), Massachusetts
courts have rejected the notion “that the physical place where
work is performed trumps all other considerations.” Dow v.
Casale, 83 Mass. App. Ct. 751, 755, 989 N.E.2d 909, 913 (2013).
The Court therefore declines to give Chan’s placement in Hong
Kong decisive weight.

In addition, there are no contractual choice of law
provisions that prevent this Court applying Massachusetts law.
Both parties agree that the respondent’s claims are rooted in
torts. Defs.’ Mem. 8-9. Pl.’s Opp’n 14, 16. This Court has
observed that “claims sounding in tort are not necessarily
controlled by contractual choice of law clauses.” Silica Tech,

L.L.C. v. J-Fiber, GmbH, Civ. A. No. 06-10293-WGY, 2009 WL

[5]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 6 of 11

2579432, at *21 (D. Mass. Aug. 19, 2009). In any case, nothing
in the contract’s language suggests that claims sounding in tort
should be construed by the law of a specific jurisdiction,
whether Hong Kong or any other. See Compl. Ex. A, Employment
Contract (“Contract”).

Furthermore, it is premature to conclude that choice-of-law
considerations dictate that the Court ought apply the law of
Hong Kong rather than the law of Massachusetts. “The first step
in a choice of law analysis is to determine whether an actual
conflict exists between the substantive laws of the interested

jurisdictions ... .” Reicher v. Berkshire Life Ins. Co. of

 

 

Am., 360 F.3d 1, 4 (1st Cir. 2004). Wellington and Argyle have
not adequately established what the relevant Hong Kong law is,
let alone shown actual conflict with Massachusetts law. The
submission of partial, uncertified samples of foreign law makes
it difficult for the Court to see how it may materially differ
from the local law. In Silica Tech, this Court addressed the
element of actual conflict between Massachusetts law and foreign

law. Silica Tech, L.L.Cc. 2009 WL 2579432, at *10. While the

 

Court may take judicial notice of foreign law, it is not
required to do so when a party fails to bring the law to the

attention of the Court. Id. at *10-11. In its discretion, the

 

2 The Court stated:

[6]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 7 of 11

Court may consult diverse sources, such as “certified
translations of foreign statutes, legal writings about the
foreign law and decisions by the courts of the foreign country”
or expert testimony. Id. Here, the Court does not yet have a
full and reliable statement of relevant Hong Kong law. Absent
proof of an actual conflict with Massachusetts anti-
discrimination law, the Court should apply the latter. See

Valle v. Powertech Indus. Co., 381 F. Supp. 3d 151, 160 (D.

 

Mass. 2019) (Casper. J) (“Because neither party has established
that the content of Taiwanese law creates an actual conflict
with Massachusetts contract law, the Court interprets the
Agreement pursuant to Massachusetts law.”).

Further, the Court disagrees with the argument of
Wellington and Argyle that Hong Kong has exclusive jurisdiction
over these claims. Defs.’ Mem. 10-11. The language of the Hong
Kong statute and case law cited by the defendants, to the extent

it accurately reflects Hong Kong law, seems to govern Hong

 

Section 136 of the Restatement (Second) of the Law of
Conflicts (1971) sets out a “black letter rule” for
determining the manner of establishing foreign law as well
as the effect of a failure or an insufficient submission of
the content of foreign law. Restatement (Second) of the Law
of Conflicts, § 136, Reporter's Notes (1971) (further
noting that the rule has “unanimous support”). As stated in
section 136, “The local law of the forum determines how the
content of foreign law is to be shown and the effect of a
failure to show such content.” Restatement (Second) of the
Law of Conflicts, § 136(2) (1971).

Silica Tech, L.L.C. 2009 WL 2579432, at *10

 

[7]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 8 of 11

Kong’s internal legal affairs only. Neither the Hong Kong
statute nor the cited case law implies any control over foreign
courts, nor could they limit this Court’s jurisdiction. “A
federal court sitting in diversity jurisdiction is obliged to
apply federal procedural law and state substantive law.”

Alternative Sys. Concepts, Inc. v. Synopsys, Inc., 374 F.3d 23,

 

32 (lst Cir. 2004) (citing Hanna v. Plumer, 380 U.S. 460, 465

(1965) and Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938)).

 

An exclusive jurisdiction provision is procedural rather than
substantive; thus the Court ought apply its own procedural law

to determine jurisdiction. See Randall v. Arabian Am. Oil Co.,

 

 

778 F.2d 1146, 1152 (5th Cir. 1985). Moreover, as the Fifth
Circuit observed:

The exclusive jurisdiction provisions of the [Saudi
Arabian] Labor Law cannot deprive a United States District
Court of subject matter jurisdiction. .. . We reject
outright the notion that the law of a foreign country can
unilaterally curtail the power of our federal courts to
hear a dispute even though the dispute involves rights
fixed by the laws of another nation. Only the Constitution
and the laws of the United States can dictate what cases or
controversies our federal courts may hear

Id. at 1150.

In a similar vein, although not involving foreign law, the
Supreme Court has held that a state may make its law exclusive;
however, outside its borders, it cannot bind other states’

courts. See Crider v. Zurich Ins. Co., 380 U.S. 39, 41 (1965).
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 9of11

Further, the Court cannot at this time rule that any of the
claims in the complaint is time-barred because it is premature
to determine what law should apply and Honk Kong law has not
reliably been established. Even if the Court will apply Hong
Kong law, some claims are apparently within the time limits.
The termination of Chan’s employment, which raises several
claims under the complaint, occurred on September 12, 2017.
Compl. @ 56. Since Chan filed her complaint on July 24, 2019,
the termination of employment did not exceed the purported two-
year limitations period under Hong Kong law. Defs.’ Mem. 12.
Moreover, the Court cannot yet determine whether Hong Kong law
recognizes the continuing violation doctrine and whether it
applies to these facts, in which case earlier alleged acts of

discrimination may not be time-barred. Cf. O'Rourke v. City of

 

Providence, 235 F.3d 713, 727-728, 730 (lst Cir. 2001); Noviello
v. City of Boston, 398 F.3d 76, 86 (lst Cir. 2005).

Furthermore, the Court rejects the application of the forum

 

non coveniens doctrine. Although Chan’s choice of forum
deserves only diminished deference because Massachusetts is not
her home forum, this does not automatically bar her access to
this Court when the defendants, who are domiciled in
Massachusetts, have not met their burden to show that litigating
in Massachusetts would be highly inconvenient. See Piper

Aircraft Co. v. Reyno, 454 U.S. 235, 255-56 (1981); Interface

 

[9]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 10 of 11

Partners Int’l Ltd. v. Hananel, 575 F.3d 97, 101-02 (lst Cir.

 

2009); Mercier v. Sheraton Int’l, Inc., 981 F.2d 1345, 1354 (lst

 

 

Cir. 1992)( “The deference accorded the plaintiff's choice of
forum is enhanced when the plaintiff has chosen a forum in which
the defendant maintains a substantial presence ... .”).

Moreover, Wellington and Argyle failed to establish that
Hong Kong is a proper alternative forum to try the case, and
that considerations of convenience and judicial efficiency

strongly favor litigating in Hong Kong. See Interface Partners

 

Int'l Ltd., 575 F.3d 97 at 101-02. Wellington and Argyle have
failed to address the issue of Wellington’s personal
jurisdiction and service of process in Hong Kong, and whether a
Hong Kong court will accommodate an action between foreign

litigants on both sides. See id.; see also Pl.’s Opp’n 5.

 

What’s more, it may be that the statute of limitations under
Hong Kong anti-discrimination law bars the action in significant
part, thus rendering the Hong Kong forum at least partially
inaccessible. In Marriott, after scrutinizing alternative
foreign forums, this Court held that since the action was time-
barred in those foreign forums, dismissal based on forum non
conveniens would be improper, especially when there was no
guarantee that the statute of limitations could be waived by

defendants. See Marriott v. Sedco Forex Int’l Res., Ltd., 827

 

F. Supp. 59, 69, 70, 71 (D. Mass. 1993). It further appears

[10]
Case 1:19-cv-11605-WGY Document 22 Filed 12/03/19 Page 11 of 11

that at least some of the key witnesses are local, e.g., Argyle
and the three managing partners of Wellington; this fact
supports litigating in Massachusetts. Pl.’s Opp’n 8-9.
Notably, even if the Court will eventually apply Hong Kong law,
“the need to apply foreign law is not in itself reason to apply

the doctrine of forum non conveniens.” Marriott, 827 F. Supp.

 

at 68 (citation omitted). Finally, Massachusetts is the home of
the defendants and there is a local interest to resolve
allegations of tortious conduct by a local company and a local

individual. See Rhodes v. ITT Sheraton Corp., No. CIV.A. 97-

 

4530-B, 1999 WL 26874, at *5 (Mass. Super. Jan. 15, 1999)
(Hinkle, J.}.

Therefore, the Court DENIES the motion to dismiss, ECF No.
9. The parties shall file a joint proposed case management
schedule within 14 days and prepare for trial on the October

2020 running trial list. ECF No. 21.

SO ORDERED.

iibton. Ki Young
WILLIAM Gy YOUNG
DISTRICT AUD

 

[11]
